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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

 JAMES DELANO, by and through his )
 next friend, Victoria Delano,           )
                                         )
         Plaintiff,                      )
                                         )
 v.                                      ) CASE NO. 2:24-cv-327-RAH-JTA
                                         )
 STEPHANIE M. AZAR, in her official )
 capacity as Commissioner of the Alabama )
 Medicaid Agency, et al.                 )
                                         )
         Defendants.                     )

                                          ORDER

       Before the court is the Joint Motion to Dismiss with Prejudice, which is signed by

counsel for all parties who have appeared in the case. (Doc. No. 28.) In the “motion,” the

parties seek dismissal pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, which provides for dismissal of an action by the filing of “a stipulation of

dismissal signed by all parties who have appeared.” Because it is apparent that the parties

intended for the case to be dismissed pursuant to Rule 41(a)(1)(A)(ii), it is

       ORDERED that the Joint Motion to Dismiss with Prejudice (Doc. No. 28) is

CONSTRUED as a stipulation of dismissal filed pursuant to Rule 41(a)(1)(A)(ii).

       Further, based upon the parties’ Joint Stipulation of Dismissal (Doc. No. 28), which

comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff’s

action against Defendants has been dismissed with prejudice by operation of Rule 41, on

the terms agreed to by the parties.
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The Clerk of the Court is DIRECTED to close this case.

DONE, on this the 9th day of September 2024.



                          R. AUSTIN HUFFAKER, JR.
                          UNITED STATES DISTRICT JUDGE




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